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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TEOFILO VASCO                                    CIVIL ACTION

                     vs.
                                                 NO. 15-4623
POWER HOME REMODELING
GROUPLLC



                                           ORDER

       AND NOW, this l21h day of October 2016, upon consideration of Plaintiffs Motion for

final approval of settlement (ECF Doc. No. 26), following our evaluation of briefing, affidavits,

objections and oral argument at our noticed Final Fairness Hearing where no party or Class

Member sought to adduce testimony and for reasons in the accompanying Memorandum

including overruling Objections from two Class Members (ECF Doc. No. 34-1), it is

ORDERED Plaintiffs Motion (ECF Doc. No. 26) is GRANTED, this case is dismissed with

prejudice under the Settlement Agreement and we enter JUDGMENT in favor of Teofllo

Vasco and the certified Settlement Class and against Power Home Remodeling Group

LLC:

       1.      We have jurisdiction over the subject matter and parties and shall retain

jurisdiction to resolve disputes arising as to the performance, validity, interpretation,

enforcement or administration of the approved Notice, this Order or the Settlement Agreement;
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                                 Class certification is warranted.

       2.        The proposed Settlement Class satisfies the requirements for class action

treatment under Federal Rules of Civil Procedure 23(a) and (b). 1 The Settlement Class with

1,104,162 identifiable members is so numerous joinder of all Class Members is impt:acticable.

There are questions of law and fact common to the Class.                The claims of the Class

Representatives are typical of the Settlement Class Members. The Class Representatives and

Class Counsel have fairly and adequately represented the interests of all Settlement Class

Members. The questions of law or fact common to the Class predominate over any questions

affecting only individual Settlement Class Members, and a class action is superior to other

available methods for the fair and efficient adjudication of the controversy;

        3.       We certify the Settlement Class under Federal Rule of Civil Procedure 23 as:

                 All persons who received a call made by or on behalf of Power Home
                 Remodeling Group LLC on his or her cellular telephone where the call
                 was made using an automatic telephone dialing system and/or pre-
                 recorded or artificial voice messages during the period from October 16,
                 2013 to April 27, 2016.


       4.        The Settlement Class meets the requirements of Fed.R.Civ.P. 23(b)(3). Common

questions of law and fact predominate with respect to the members of the Settlement Class. A

class action is a superior method for resolving the claims of the Class. This is the proper forum

for the maintenance of this class action. Due to the settlement, there will bt1 no issues of

manageability;




1
 Unless otherwise defined, all capitalized terms in this Order have the same meaning as in the
May 5, 2016 Settlement Agreement (ECF Doc. No. 23-1.)
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        5.       We appoint Class Counsel Jarrett L. Ellzey and William Craft Hughes from

Hughes Ellzey LLP; Shanon J. Carson, Arthur Stock, and Lane L. Vines from Berger &

Montague, PC;

        6.       Plaintiff and Class Counsel adequately represented the Class.             The Class

Representative has no disabling conflicts with members of the Settlement Class and has

participated in this action as required including starting this case with a call to a lawyer;

        7.       All Settlement Class Members who did not timely opt out are deemed to have

absolutely and unconditionally released and forever discharged the Defendant from all claims as

defined in the Settlement Agreement;

                         The Settlement is fair, reasonable and adequate.

       8.        We approve the Settlement as fair, reasonable and adequate.

       9.        The Settlement is entitled to a presumption of fairness because: (a) the

negotiations were conducted at arm's length including with the aid of an experienced mediator

over two days; (b) the parties exchanged pre-settlement documents, including review of records

and documents from Power Home Remodeling Group; and (c) Class Counsel are experienced in

class action litigation. The parties provided notice in writing and on a settlement website of the

pendency of this class action, the available recovery requested by the Class in the Complaint

under the governing Law, the Proposed Settlement, and of the request for certification of the

Settlement Class to all persons reasonably identifiable as Class Members after national

publication notice, at the respective addresses set forth in Power Home Remodeling Group's

records. We find the form, content and method of dissemination of the Notice given to the Class

Members was adequate and reasonable, and constituted the best notice practicable under the

circumstances.     The notice, as given, provided valid, due and sufficient notice of these



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proceedings, of the Proposed Settlement, and of the terms and conditions in the Settlement

Agreement, and the notice fully satisfied the requirements of Rule 23 of the Federal Rules of

Civil Procedure, constitutional due process and other applicable law;

       10.     Defendant timely filed notice of the proposed settlement under the Class Action

Fairness Act of 2005 ("Act"), 28 U.S.C. §§1711-1715, apprising, in connection with the

approval of this settlement, Defendant sought certification from this Court confirming their

respective notifications complied with any applicable Act requirements;

                    Proposed distribution under the Settlement Agreement.

       11.     Claims Administrator Angeion shall be paid under the terms of our May 13, 2016

Order up to $1,180,000 from the Settlement Amount after Class Counsel scrutinizes Angeion's

submitted invoices before reimbursing demonstrated administrative costs, reasonable fees and

incurred but unpaid expenses;

       12.    We approve the attorney's fees and incentive awards contemporaneously awarded

today as described in the accompanying Order and Memorandum;

       13.    All distributions, including to Angeion, Class Counsel, Plaintiff, the Class, and

any cy pres, shall be paid only under the terms of Paragraphs 23-27 of our May 13, 2016

Preliminary Approval Order (ECF Doc. No. 25) and, to the extent not inconsistent, with the

Settlement Agreement;

       14.    The Settlement is not subject to change, modification, amendment or addition

without our further approval; and,

       15.    If the parties terminate the Settlement Agreement under its terms or the terms of

any other agreement between the Parties, or this Judgment is reversed on appeal or otherwise

does not become Final, (i) this Judgment shall be rendered null and void and vacated nunc pro


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tune; (ii) as specified in the Settlement Agreement, the Settlement Agreement and other related

orders shall be rendered null and void and vacated nune pro tune; and, (iii) this case will proceed

as provided in the Settlement Agreement.




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